Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.62 Filed 12/11/24. Page 1 of 18

Yeshiva — Z . : npw
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Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.63 Filed 12/11/24 Page 2 of 18

THE LAW OFFICE OF IZIDOR MIKHLI, PLLC

3118 Quentin Road, 24 Floor, Brooklyn, New York 11234
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December 11, 2024

The Honorable Matthew F. Leitman
United States Federal District Court Magistrate Judge
Eastern District of Michigan
Re: Akiva Shenkman
Dear Judge Leitman,

Kindly accept this letter as a character reference for Akiva Shenkman. I have
known Akiva since 2010. I worked with his brother Yisroel and continue to do so until
this day. I represented Akiva when he purchased his home as well as when he eventually
sold it. Through my relationship with his brother, | have shared many dinners, holiday
parties and family celebrations/occasions with the entire Shenkman family. My family
and I have also invited him to many sabbath meals in the hopes of setting him up. My
entire family adores him. Throughout that time, he has never said or done anything
remotely negative to anyone present and has been nothing but kind, respectful and
thoughtful.

Akiva works as an HVAC technician and is my first call when I need help in that
area. Additionally, I have referred him to many friends and family members who dealt
with similar issues and have had nothing but positive feedback from everyone, thanking
me for the referral.

He is a very well-liked and respected member of his community and poses no
threat as a flight risk whatsoever. Whatever it is that has caused him to end up where he
currently is, knowing him the way I do, it would be nothing more than an opportunity for
him to correct whatever issue he is dealing with, which is something I am confident he
would take upon himself and successfully accomplish.

[ thank you in advance for taking the time to read this and in the event any follow
up is needed, I can be reached at the number above or on my cell phone at (917) 626-
2959. Thank you.

Sincerely, -/

Le (oN

yes Esq.

Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.64 Filed 12/11/24 Page 3 of 18

Hillel M. Shenkman
206 Martin Ave

Staten Island, NY 10314
December 10, 2024

The Honorable Matthew F. Leitman
United States Federal District Court Magistrate Judge
Eastern District of Michigan

Dear Judge Leitman,

] am writing to you in my capacity as his brother to offer a character reference for Akiva D
Shenkman, who is currently before your court regarding a legal matter. It is with great sincerity
that I hope this letter provides a deeper understanding of the person he is and the positive impact

he has had on everyone fortunate enough to know him.

Growing up in a broken home, my siblings and I faced countless challenges, moving from one
place to another, often with no stability or security. We bounced between parents' homes,
frequently changing schools, and struggling to find a sense of belonging. Despite these
overwhelming obstacles, Akiva remained remarkably grounded. He exhibited a resilience that I
can only admire, refusing to allow his circumstances to define him. Where many could have
become bitter or lost, Akiva chose a path of grace, perseverance, and hope. Watching him
navigate our turbulent upbringing, I saw him time and again make the difficult choice to rise

above the chaos, proving that the struggles we faced didn’t have to determine who we became.

Despite the upheaval, Akiva remained a shining example of decency and moral integrity. Even
when faced with overwhelming difficulties as a family, Akiva was the one who consistently
provided support, showing up for others when it was needed most. He never turned to negative

outlets like drugs, alcohol, or violence—he consistently chose to put others first.
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.65 Filed 12/11/24 Page 4 of 18

Whether it was helping a friend, a family member, or anyone in need, Akiva has always been
there with a listening ear, an open heart, and a helping hand. I’ve witnessed this countless times,
as he would drop everything to offer his support, never expecting anything in return. Akiva’s

selflessness is a hallmark of his character, and it is this generosity that makes him truly special.

I remember a time when I was going through a tough period financially, struggling to make ends
meet. Without hesitation, Akiva quietly stepped in, offering me financial help. He never sought
recognition or credit, but I could see the sacrifice he made. His actions were a testament to the
selflessness that defines him. His willingness to give, even when it meant personal hardship,

speaks volumes about his character.

I’ve also witnessed Akiva’s incredible willingness to lend a hand in more practical ways.
Whether it was fixing broken things around the house or helping with repairs, Akiva has always
been the first to step in and offer his assistance. His skill and determination in these situations
have been a great source of relief, and his efforts were always given without hesitation or

expectation of anything in return.

Akiva is beloved by everyone who knows him. It’s not just his family who looks up to him—his
friends, neighbors, and even acquaintances can speak to his generosity and integrity. The
outpouring of support from those around him during this difficult time has been overwhelming.
Many have reached out to express their admiration for him, offering to help however they can.
His kindness is infectious, and it’s clear that he has touched the lives of so many in meaningful

ways.

While I do not have full knowledge of the details of the case before your court, I do know that
Akiva is not someone who would intentionally harm another. I am confident that Akiva never
intended to cause harm. We are all human, and while mistakes are part of life, they do not define

us. The yetzer hora, the inclination to err, 1s a challenge we all face, but it is through learning
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.66 Filed 12/11/24 Page 5 of 18

from our mistakes that we grow. Any misstep on Akiva’s part was not born out of malice or ill
intentions. Instead, his actions throughout life have consistently reflected kindness, generosity,
and a deep desire to uplift others. His goodness is evident not only in how he interacts with
people but also in the way he approaches challenges, always with an open heart and a helping
hand. Whether it’s offering support to a friend or family member or rolling up his sleeves to fix
something broken around the house, Akiva’s character shines through. He is always there for
others, going above and beyond to make sure they are taken care of, with no thought of reward.

His fundamental goodness and moral strength have been the cornerstone of his life.

A large portion of our family is not even aware of the situation Akiva is facing. I have kept this
matter under wraps to protect his dignity and prevent any unnecessary distress for him or our
family. While I considered asking other family members to write letters in support of him, I
chose not to involve them due to the sensitive nature of the matter. I believe that by respecting
Akiva’s privacy during this time, I can help preserve his sense of dignity and ensure that he is not
further burdened by unnecessary scrutiny. I know that protecting his reputation is of great

importance to him, just as he has always done for others.

It is my firm belief that Akiva has the capacity to learn from this experience and grow stronger as
a result. He has always been someone who seeks to improve and better himself, and T know that
he will reflect deeply on this experience. Akiva has my full support as he works to move forward

and continue making a positive impact in the lives of those around him.

Thank you for taking the time to consider my perspective. Please do not hesitate to contact me at

(347)979-5525 or hlshenkman@gmail.com if I can provide any additional information.

Sincerely,

ae

~ Hillel M. Shenkman

_ Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.67 Filed 12/11/24 Page 6 of 18

se age.

ie Congregation Alesk Linden &

13 W Elm Street Linden NJ 07036
718-781-0408

To Judge Leitman,

Akiva has been a life long friend. We grew up together because he attended my father’s synagogue near
our homes.

I know him as the most reliable individual and a man of his word.

He volunteeres to help with the synagogue’s maintenance and I always see him assisting on other
communnal needs on a consistent and emergency basis. He consistently attends the synagogue’s Torah
classes. And, ’ ve watched how he carefully navigates the sale of chometz (selling of leaven before
Passover), for himself and his disabled mother — who he tends to with a sincere devotion. His honesty and
meticulousness is what makes him stand out.

I, his friends, and the community know Akiva as a person to rely on. He is an asset to the community and
poses no flight risk, as his friends and family are rallying around him to help move forward.

Yours sincerely,

Yoel Mendel Ashkenazi

12/10/2024
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.68 Filed 12/11/24 Page 7 of 18

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Pb oF Fe

To the Honorable Judge Lightman,

| am the older sister of Akiva Shenkman.

| have 7 children and have always felt completely safe with them in Akiva's presence. My
husband is a lawyer and we often have guest in ourhome. We are overprotective of our
children and do not allow questionable people into our home. We don’t see Akiva often
because we live in Atlanta, GA, but when myself and my children get to visit, it is always a great
time, with his calm and practical demeanor.

This past summer my oldest son got married and my little boys clambered to dance with Akiva
at the wedding. They love interacting with him. He is a very good sport. He displays healthy
boundaries always. The day after the wedding he kindly took them to Goodwill and bought them
a bunch of toy cars and airplanes. As an overprotective mother, | trust my instincts and if Akiva
came for a visit next week, | would feel comfortable with him in my home and hanging out with
my kids.

| have a 16 year old daughter who is in boarding school in Toronto. When he went there to visit
his friend, he thoughttully asked me if she would like to be taken out to a restaurant, which is a
treat for high schoolers who board. | had zero qualms about agreeing to his offer and my
daughter, who rarely sees him, was thrilled. She didn’t hesitate for a second to jump on the offer
for dinner out with her uncle, and neither did | - nor would lin future.

Akiva is a person who all his friends know they can count on. | will never forget the story he told
me about one particular friend who, upon graduating his bartending course, went with his fellow
graduates to a bar in Manhattan to celebrate. Later that night, this friend found himself drunk,
unable to even make out the street sign closest to him, no less find his way home. He knew the
person to call though. Akiva took his call in middle of the night and guided him to help figure out
where he was.
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.69 Filed 12/11/24 Page 8 of 18

Akiva jumped in his car, pumped up the heat and raced to rescue his friend. He found him on
the street corner freezing and shivering terribly due to the cold winter temp. Akiva put his
finger down his throat to make him vomit to save him from the potential of choking on his
own vomit. He placed him in his warm car and saw him safely into his home. Akiva is always
thinking about how he can help others. He has connections at his local markets who give him
their old produce. He hand delivers it to people in his community who he knows could use it.

In his business of heating and cooling, he goes above and beyond for his customers. He will
stop at nothing to fix their equipment so they are not suffering from heat or cold, and to
prevent them from having to invest in new expensive units if he can help it.

Akiva believes that everyone deserves to spend Shabbos surrounded by friends and regularly
hosts meals for anyone looking for somewhere to go.

| can confidently assure you that Akiva is not a flight risk or danger to the community. | believe
that his behavior is an expression of unresolved pain stemming from a challenging childhood. |
know that he wants to have a fulfilling productive life and needs the support and guidance of
professionals to help him heal and grow.

Thank you for reading this letter.
Sincerely,
Malkie Citrin
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelID.70 Filed 12/11/24 Page 9 of 18

Yosef Abramovitz & Sylvie Farkas

46 Dell Park Avenue
Toronto, ON, M6B 2M6
Canada

6479966704

To the honorary Judge Leitman,

lam writing this letter to provide my support for Akiva Dovid Shenkman and to share my
perspective on his character, his strong ties to his community, and his trustworthiness. |
have known Akiva for 30 years in my role as a close friend, and | can attest to his
dedication to his responsibilities and the positive contributions he has made to those
around him.

| firmly believe that he is not a danger to society. In my time knowing him, Akiva has
consistently shown kindness, respect for others, and a calm and rational demeanor. For
example, when Akiva helped a struggling neighbor during a difficult time. Akiva noticed
that his elderly neighbor, who lives alone, was having trouble keeping up with yard work
and grocery shopping. Without being asked, Akiva stepped in and began mowing their
lawn, shoveling snow during the winter, and even running errands to ensure they had
food and supplies.

This level of compassion and selflessness is not uncommon for Akiva. His willingness to
go out of his way to assist someone in need, without expecting anything in return, isa
clear testament to his strong moral character and commitment to helping others.. His
actions have always reflected a deep respect for others and a commitment to doing what
is right.

Moreover, Akiva has significant ties to his community - specifically the Gerrer Shtiebel
(Jewish Synagogue) where he prays daily; as well as to his family - his mother, 2 brothers
and 2 sisters. They provide his grounding and his “home base". His connections there
display dedication and stability. Akiva maintained a Heating/Cooling company within his
community for the last 12 years. He is the "go to" contact for HVAC Services and is well
known within his community as a reliable trustworthy business owner. These connections
show that Akiva is deeply rooted and invested in this community, making him highly
unlikely to flee.
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.71 Filed 12/11/24 Page 10 of 18

My husband and | have known Akiva for years and the first impression he leaves with
everyone he meets is that he would give you the shirt off his back and that he has a heart of
gold. That hasn't changed in the many years I've known him. We trust him implicitly and are
his biggest cheerleader.

| respectfully ask that his character, history, and strong ties to his community be taken into
consideration. | firmly believe that he can remain safely within society without posing any

harm or risk.

If you have any questions or require further information, please do not hesitate to contact
me at 6479966704 or shaindyabramovitz@gmail.com

Thank you for your time and consideration.

Sincerely,
Yosef Abramovitz & Sylvie Farkas
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.72 Filed 12/11/24 Page 11 of 18

Yisroel N. Shenkman
1505 East 17" Street

Brooklyn NY 11230

The Honorable Mathew F. Leitman

My name is Yisroel Shenkman. Akiva Dovid Shenkman is my younger brother we are three years apart in
age. | am married with eight children and live two blocks away from my younger brother. Akiva has
been a guest of our home for over 18 years and is the greatest brother a man can ask for. Akiva is not
and has never been a threat to anyone in any society in any way. Akiva is honorable individual and a
man of his word. Akiva will show up when needed and will not run away from dealing with any issues
regardless of the surrounding conditions. Knowing there’s a problem is already half the solution. We as a
family will assume responsibility that Akiva will get the assistance he is in need of and assume
responsibility for his actions as a grown man. Akiva is a good person and he is not a flight risk. Please
allow Akiva the opportunity to be released and do right.

Yisroel Shenkman
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.73 Filed 12/11/24 Page 52.048, 5024

From the Desktop of Michal Deutsch, MSW

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Hon. Matthew F. Leitman

about ecberky United States Federal District
Court Magistrate Judge

Easter District of Michigan

Your Honor,

Akiva is my brother. | am 3 years younger than him. There is nobody like Akiva. He is honest, generous,

he has integrity, and he is fiercely faithful to his family, his friends and to what he believes.

Let me tell you about him so you understand who he is. One recent example is how Akiva came to NJ
and spent the entire Sunday installing two split units in my home. He even gave me the units for free.
He didn't charge me for a job that he could make upward to $10,000. Nevermind all the handyman work
he does for his parents and his siblings. When Akiva leaves your house, your house is left better than it

was before he arrived.

A few weeks ago, | wanted to fly out for a friend's funeral, | didn't have the funds, he loaned me more
$700 for my last minute flight. In general, any time | have a large expense, | know that he would Loan

me money, no questions asked. And he never follows up asking for repayment.

One day | called Akiva to tell him about a friend of mine with 4 children that was drowning in debt and
owed her local grocery store over $1k. | asked him if he was willing to give a few hundred dollars to
assist toward the debt. He said he could help out without giving a definitive number. It turns out that he
called the grocery store and anonymously paid off her entire debt. He didn’t tell me. He never seeks
accolades for the good things he does.

Years ago, Akiva was working as a kosher supervisor in a restaurant. They offered him over $10k to do
Passover koshering and supervision. This required more complex knowledge of Jewish law that he didn't
feel wholly competent. They increased their offer when he told them he wasn't qualified - to try to
convince him to do it. He walked away. He wasn't going to take a job when he felt it would be fraudulent
to the consumers.

If you are stuck in a blizzard, stranded, need help - at any hour - Akiva shows up to rescue you. Everyone

simply expects it of him because he has conditioned us by his generosity of spirit.

Cont'd next page...
Michal Deutsch, MSW

Clrector of Research and Development

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Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.74 Filed 12/11/24 Page 13 of 18

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From the Desktoo ef Michal Deutsch, MSW

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or Jewish Parents on Talking to their Sons about Puberty

Education for the Prevention of Child Sextia: Abuse

Cont'd

And instead of being depressed and reliant on others because he isn't married with children, he hosts
friends for Friday night and Saturday Sabbath meals where he might serve you deep-fried fish, deep-
fried beef, and deep-fried ice cream. He gives back by hosting these meals instead of constantly

expecting invitations. (These are social norms in our community)

Akiva is non-judgmental. If you are a black person from the projects, a white person from the mountains,
a rich person from the city or an immigrant from another country, Akiva will talk to you in earnest and
find commonality. He is grateful to his Walmart cashier, kind to the car mechanic assistant, and tips the

valet service. He shows “kavod habriyus” - respect to all living things.

He may not be charismatic, influential, or rich. And he may still watch cartoons, but everyone likes and
respects him. And if you're lucky to be his friend or family - of which he has many - he will travel 16
hours+ to help you move. Like he did for me when | was pregnant more than 12 years ago. He showed
up to Chicago, packed my apartment and drove a U-Haul while | was vomiting and my husband was
holding my hair. (We took a plane and he drove the truck in sleet during January - no payment requested,
no complaints, no resentment).

As a social worker, therapist, community collaborator and abuse prevention educator, | am hyper aware
of grooming behaviors in adults. Akiva has NEVER demonstrated any type of grooming behavior to any of
my children or his other nieces and nephews. What | know was that he had very early childhood exposure

to terrible sexually explicit material online and sexual abuse.
| am asking that you allow him to attend a rehabilitation center so that he can begin his journey to

healing. He has done so much for me, and we all rely on him. Especially our divorced, aging parents -

requiring double the amount of parental assistance.

ichal Deutsch, MSW

Director of Research and Development

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Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.75 Filed 12/11/24 Page 14 of 18

Pram the Desktoe of Michal Deutsch, MSW

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Cont’d

In his first week at Midland County Akiva discovered a 3 hour+ podcast episode on porn addiction, sexual
abuse, and childhood trauma - that he asked me to share with our mother. Sharing this podcast was
monumental, it is his way of saying “this happened to me". He has been living in a tortured and silent
shame all these years, but now that he was exposed, he is ready to tackle his trauma and his behaviors head
on. This is a good guy who is ready to do the right thing, and as I, and his friends demonstrate - doing
the right thing is the nature of his very being.

Akiva needs therapeutic rehabilitation not retribution.
Thank you for your consideration.
Michal Deutsch nee Shenkman

Lakewood, NJ
December 9, 2024

Michal Deutsch, MSV

Edrecter of Research and Development

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Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.76 Filed 12/11/24 Page PO

December 10, 2024 5527
3911 Ave. P, Brooklyn, NY

Steven Lustig

Your Honor,

I have been a friend of Akiva Shenkman for over 15 years and can speak for his character.

Over the years I have seen him perform countless deeds for friends, family and
community- from taking a day off of work to help a friend move, to constantly offering to
help others with groceries.

Akiva opens his front porch to the public to distribute free food to those who need it,
regardless of who they are.

Just recently, Akiva helped a neighbor evaluate and sell their car, passing on the
opportunity to get a good deal for himself.

Professionally, ve similarly witnessed Akiva pass on financial opportunities which he felt
went against his moral responsibility of providing quality service to customers, even if
that meant he would lose the business to others with less integrity.

Akiva is a kind, honest and charitable individual which the community appreciates
heavily, and I hope you can take this into consideration when evaluating his character.

Thank you,
Steven Lustig
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.77 Filed 12/11/24 Page 16 of 18

Yehoshua Klein

1009 East 29 St.

Brooklyn NY, 11210
(646) 675 6562
Shua@Shuakstudios.com

December 10, 2024

To the honorable presiding Judge Matthew Leitman,

| have known Dovid Akiva Shenkman for a long time. | was his housemate for several years, and remain
his close friend. We lived together at his current residence of 1149 E. 18 Street in Brooklyn until | got
married in 2017. Besides living together, | have gone on road trips and weekends with him, | have slept
in the same room with him many times, | have camped with him, | have joked with him, gone to social
events and parties with him, and prayed with him in synagogue. He has attended my wedding, and he
hosted one of my post-wedding ceremonies. We still get together regularly on the Sabbaths and
holidays for festive meals, and go on trips. | am writing to testify about his character, my experiences
with him, and some observations about his behaviors. | specifically want to highlight that nothing | have
seen indicates that he is a danger to anyone, ora risk to the community, or a flight risk.

[am also a fellow firearms enthusiast, | have gone to ranges and classes with him. He has always been
safe and treated the firearms with respect and has always been generous with his knowledge and
equipment in those situations. | have NEVER seen or heard of him threatening anyone with harm. | have
never seem him show a firearm to a child in his home.

Dovid Akiva is always willing to help a friend, or a stranger. Before | met him, | know he used to do
volunteer roadside assistance, and when we lived together he was part of an on-call group of people
with all-wheel-drive vehicles for winter storms. Dovid Akiva is a well liked member of the community,
and has no friction with neighbors. | don’t attend the same synagogue as him, but | understand he is
well regarded there also. Dovid Akiva helped distribute food to neighbors on his front porch (not inside
his home), and during Covid was volunteering with a distribution network of food and PPE (Personal
protective equipment).

In our Orthodox Jewish community, singles don’t have the same social scene, since going to
bars/lounges/clubs and dancing is frowned upon, and many singles have trouble with religiously
appropriate social meeting places. (By Orthodox Jews, mingling of the sexes in the synagogue is not
permitted.) Dovid Akiva has created his own community of singles (and later marrieds with our children)
who socialize at meals at his home during the Sabbaths and holidays, which continues to this day. During
my time living together with Dovid Akiva, we hosted many happy Sabbath and Holiday meals in the
dining room of the home. | met my wife at a similar Sabbath meal, and after the meal, she asked me if
had ever attended a meal at “the house on East 18th St.", not knowing that | lived there and was one of
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.78 Filed 12/11/24 Page 17 of 18

the hosts! | last attended a meal on this most recent Sukkot holiday (Oct 16-23, 2024} at his home with
my wife and kids.

| never really had to take an accounting before of Dovid Akiva's behaviors around kids, but the shocking
revelations of this case have forced me to put some serious thought to it. While | am not an expert in
this area by any stretch, Dovid Akiva has never shown any signs of being creepy or grooming behaviors
near my or other kids as long as | have known him.

| have never seen him to engage with a child in anything related to keeping secrets. | don’t recall ever
seeing him offer a child treats, and certainly never any form of alcohol or drugs. (While we always
owned alcohol in the home, the home is drug free.} Children were never offered alcohol in our house. |
have never seen him offering "forbidden" things, even snacks, to my or other kids. | have never seen him
separating a child from their parent or the parent from their child under any pretext. He has never
expressed or demonstrated any interest in physical contact with children beyond a high five... | have
never seen a child sitting on his lap, hugging him, or caressing him, or vice versa, and all of our kids are
comfortable around him. Our children are not afraid of him- signs that he never threatened or
blackmailed any of them. He seems completely ambivalent to kids being in the house, while he hasts the
adults. | have also never seen him acting cool for kids to get them to like him. | have never come into the
house to find him alone with a child, or been there when there was a child not accompanied by their
parent(s).

Additionally, the 2nd floor (where the bedrooms were of our home} was always strictly off limits to
guests.... no children were ever up there (except my son when he was in my room with me when | lived
there).

He also doesn’t have anything in his home to attract children to visit... the sum of things in his home
which kids would occupy themselves with while we were there was a total of one cookie tin of
firefighter “action figures" and an old "where's Waldo" book. There is no play equipment or toys on his
property... no trampoline, slide, swing, not even an outdoor bench. In short, there is not and was never
anything to entice kids into his home.

| also should mention that after going to eat by him, my wife and | (and other guests with kids) often go
with our kids to the playground on the next block. | have NEVER seen him enter the park on his corner or
the large non-jewish school nearby... he probably has never thought about them as “his neighbors” since
he has no connection with them. | take my kids to that playground anytime we are in the neighborhood,
and | have never seen him there.

Dovid Akiva is a longtime member of the community, and a fixture of the neighborhood. Has an
established business with repeat clients. He has lived in the same home for a long time and is not a
transient. He has invested in his business, work vehicle, tools, clients, and equipment. He is well liked by
his vendors and fellow tradesmen, who deride his work, which | think is the norm in that industry. Dovid
Akiva has family here and a solid social circle. Dovid Akiva has no criminal record. He has never
threatened or harmed anyone to my knowledge. | also observe that while verbal skills may not be his
strong point, he understands how to live within the additional! confines of legal decisions.... | know that
Case 2:24-cr-20668-MFL-EAS ECF No. 19-1, PagelD.79 Filed 12/11/24 Page 18 of 18

since we both got our permits, he has made sure to comply with the additional limitations which are
incumbent upon anyone with a CCW, so if he is released with conditions, | am sure he will carefully
comply with them.

The Prosecutors accuse him of being a danger to the community, and are saying that he has been on
their radar since 2016, yet no one has EVER accused him of harming anyone since then... he has no
history of being a threat to the public that entire time! On the contrary, he has been a friendly neighbor,
a model citizen, and never a whiff of inappropriate contact with a minor.

This news has been a shock to all of his friends, we all know him well and trust him, | assume we would
all be willing to speak on his behalf.

To be clear, we 100% agree that children are our most precious and vulnerable population, and must be
protected at all costs. Children cannot consent to any form of sexual contact. People who harm children
should be dealt with in the most severe manner. If you told me that Dovid Akiva had physically molested
a child, | would volunteer to piug in the electric chair, personally.

Sadly, the internet and group chats has opened up the doors of shock content and unfortunately
desensitized people who are exposed to this regularly. We still see on daily basis videos of crime, death,
torture, abuse, and other horrible things, especially on the cutting edge breaking news channels, and the
comments sections. Nowadays, it actually takes effort to avoid that. The fact that someone has a video
of murder on his phone doesn’t make him a murdered, the fact that someone has a video of a gory
accident on his phone doesn’t make him a mutilator, the videos we all have on our devices now of the
war crimes being perpetrated on innocents and combatants does not make us war criminals. Millions of
people this week shared the video of the Insurance company executive being shot in NYC, some with
great glee, yet none of them are murderers. While | am disgusted that Dovid Akiva would have this
content on his phone, | don't think he represents a danger to the public.

Thank you for taking the time to read my letter. | hope that the testimony, anecdotes, and observations
| have shared will help guide your decisions dealing with Dovid Akiva in the coming days. May God
Almighty continue to guide you in the Pursuit of Justice.

Please feel free to contact me with any questions.

Sincerely,
Yehoshua Klein

/ / CM
